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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN
_________________________________________________________________________________________

UNITED STATES OF AMERICA,
                                                                        REPORT AND
                      Plaintiff                                      RECOMMENDATION
       v.
                                                                           10-cr-38-wmc
JAKE BARTTELT and
DANIEL L. BOHMAN,

                    Defendants.
_________________________________________________________________________________________

                                              REPORT

       The grand jury has charged defendants Jake Barttelt, Daniel L. Bohman and Shawn Ably

with various crimes related to methamphetamine cooking. Counts 4 and 5 against Barttelt and

Bohman are based on evidence derived by law enforcement agents from a late night traffic stop

on August 18, 2009 in rural Lincoln County. Barttelt and Bohman each has filed his own

motion to quash the stop and to suppress all evidence derived from it. See dkts. 33 and 43). For

the reasons stated below, I am recommending that the court deny these motions.

       On May 13, 2010, this court held an evidentiary hearing on these motions. Having

heard and seen the witness testify, having reviewed the exhibits, and having made credibility

determinations, I find the following facts:


                                               Facts

       Brian Kingsley has been employed by the Lincoln County Sheriff’s Department in

Merrill, Wisconsin for over seventeen years, the first ten as a patrol officer, since then as a

sergeant investigator. Sergeant Kingsley has received special training in drug investigation,

including investigating methamphetamine laboratories (meth labs) and has investigated about

40 meth labs. Sergeant Kingsley knows that a meth lab can be small enough to fit in a
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cardboard box and can be very easy to transport. One result of Sergeant Kingsley’s training and

experience is that he is familiar with the odor of anhydrous ammonia, a chemical commonly used

to cook methamphetamine. Sergeant Kingsley can discern anhydrous ammonia because it is

noticeably more pungent than household ammonia, to the point that it burns his nose and

mouth to smell it. While working drug cases in Lincoln County in 2009, Sergeant Kingsley was

aware that local law enforcement agents suspected area resident Jake Bartlett of being a

methamphetamine cooker. Sgt. Kingsley had never met Bartlett and did not know what he

looked like. Sergeant Kingsley also had had professional contact with area resident Dan

Bohman, and knew that Bohman had been arrested in 2005 while present at a

methamphetamine cook taking place on his brother’s property.

       On August 18, 2009, Lieutenant Gary Schneck of the Marathon County Special

Investigations Unit asked Sgt. Kingsley to visit the Marathon County Sheriff’s Department to

talk to an informant who had information about drug activity in Lincoln County. Sgt. Kingsley

had worked with Lt. Schneck before and had found him useful and reliable, so he made the trip,

arriving at about 8:20 p.m..

       The informant’s name was Ed Olmsted. Sgt. Kingsley had never worked with Olmsted

before, but Lt. Schneck vouched for him by stating generally that he had obtained information

from Olmsted on previous occasions. Olmsted was under arrest and charged with unlawful

possession of drug paraphernalia including an anhydrous tank; he was looking snitch in exchange

for consideration on his charges.

       Olmsted admitted to Sgt. Kingsley that he was involved in methamphetamine cooking

and claimed that three times in the past two month he had been present when Jake Bartlett was



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cooking meth at a hunting cabin on “Big Tony’s” property off of Hagar City Road in Lincoln

County. Olmsted had seen the tank of anhydrous ammonia at the cabin within the last week

or so. Sgt. Kingsley placed a plat book in front of Olmsted, who pointed to a 40 acre parcel at

the corner of Hagar City Road and Savaske Road, owned by Tony Thorenson. Olmsted reported

that a locked cable blocked the drive leading to the cabin from Savaske Road. Olmsted told the

investigators that Barttelt was driving a green Grand Marquis that he had obtained from a man

named Chuck Groff.

       In Sgt. Kingsley’s experience, methamphetamine cookers did not store anhydrous

ammonia for long periods of time (that is, more than a week) without using it to cook

methamphetamine. Therefore, based on Olmsted’s report, Sgt. Kingsley believed that one of

three stages of a methamphetamine cook would be found at Thorenson’s cabin: (1) The pre-

cooking phase, during which ingredients and paraphernalia were gathered; (2) an active cooking

operation; or (3) the post-cooking phase, which would yield evidence in the form of discarded

glassware and coffee filters, empty starter fluid cans, lithium battery strips, etc.

       Sgt. Kingsley shared Olmsted’s information with his lieutenant, who directed Kingsley

to drive to Thorenson’s property with Lincoln County Sheriff’s Investigator Andy VanderWyst

to begin immediate surveillance. The investigators arrived in an unmarked squad car at about

10:45 p.m. that evening. They saw a cable blocking the drive leading to a hunting cabin about

300 yards away. A light was lit in or near the cabin, so the investigators decided to focus their

surveillance on it. As they were prepping their surveillance gear, Sgt. Kingsley inadvertently

beeped his car horn.




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       Within 20 seconds, car lights came on up near the cabin. Surprised, Sgt. Kingsley backed

his car away from the cabled drive, leaving his own car lights unlit. The car from the property

pulled up to the cable, stopped, waited for 20 - 30 seconds, then backed up whence it had come.

Sgt. Kingsley repositioned his car to the other side of the cabled drive. Within about four or five

minutes, a car drove from the cabin area to the cable and stopped, apparently to unlock the

cable. The car then pulled out Eastbound, toward where Sgt. Kingsley happened to be parked.

As the car approached, Sgt. Kingsley activated the blue and red emergency lights on his car and

drove toward it, causing it to stop. The car was a reddish/maroon Beretta.

       Sgt. Kingsley stopped about ten feet in front of the other car and left his headlights on.

He and Investigator VanderWyst got out and walked toward the other car. Sgt. Kingsley

recognized the driver as Dan Bohman, with whom he had had professional contact on numerous

occasions, but he did not recognize the passenger. The investigators, who were in plain clothes

and not brandishing firearms, identified themselves and directed both men to step out of the car.

The passenger, who was wearing shorts, no shirt and tennis shoes, identified himself as Jake

Barttelt. As he led Barttelt to the front of the car to question him alone, Sgt. Kingsley smelled

anhydrous ammonia. When asked what he was doing in the woods that night, Barttelt told Sgt.

Kingsley that he had been bear hunting. Although this was possible, Sgt. Kingsley deemed this

unbelievable given the time of night and Barttelt’s clothing.         Up to this point, neither

investigator had told either occupant of the car that he was a suspect in a drug investigation.

       Sgt. Kingsley concluded that they had uncovered an active methamphetamine cooking

operation, so he and Inv. VanderWyst handcuffed Barttelt and Bohman and placed them in the

back of the squad car. Bohman admitted that they were cooking meth up in the cabin. By then,



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backup had arrived, so they went up to the cabin, saw other indicia of meth cooking, rounded

up four more suspects and secured the premises. The investigators then obtained a state search

warrant for the cabin, which resulted in the recovery of the evidence that Barttelt and Bohman

now move to suppress. Several days later, property owner Tony Thorenson told Sgt. Kingsley

that no one was supposed to be at the cabin unless he was there too.




                                           ANALYSIS

    “Suppression of evidence . . . has always been our lasts resort, not our first impulse.”

               Hudson v. Michigan, 547 U.S. 586, 591 (2006).


       Bartlett and Bohman separately raise the same ground for suppression of evidence seized

during execution of the search warrant at Big Tony’s cabin: the exclusionary rule requires

suppression because the evidence derives from a constitutionally unreasonable traffic stop as

they drove from the cabin on August 18, 2009.            The government responds with many

arguments, including defendants’ lack of a privacy interest in the cabin and attenuation/

inevitable discovery, but there is no need to go beyond the reasonable suspicion analysis,

prefaced by an overview of the recent retrenchment of the exclusionary rule, which now is

reserved for cases of deliberate, reckless or grossly negligent conduct by law enforcement officers.

See Herring v. United States, ___ U.S. ___, 126 S.Ct. 695, 702 (2009); Herring v. United States and

Hudson v. Michigan, 547 U.S. 586 (2006). Here’s the new rule:

               To trigger the exclusionary rule, police conduct must be sufficiently
               deliberate that exclusion can meaningfully deter it, and sufficiently
               culpable that such deterrence is worth the price paid by the judicial
               system. As laid out in our cases, the exclusionary rule serves to



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               deter deliberate, reckless, or grossly negligent conduct, or in some
               circumstances recurring or systemic negligence.

       Herring, 129 S.Ct. at 702.

       As is clear from the facts above–or at least, clear to the court and set forth here as the

court’s conclusion– Sgt. Kingsley and Investigator VanderWyst did not engage in deliberate,

reckless or grossly negligent conduct when they stopped the car and questioned its occupants.

       No clear picture has emerged yet from the Seventh Circuit on how it gauges the impact

of Herring and Hudson. In United States v. Crowder, 588 F.3d 929 , 934 (7th Cir. 2009), decided

on the defendant’s lack of an expectation of privacy, the court observed in dicta that courts

usually exclude evidence obtained in violation of the Fourth Amended, then tempered this

observation with a “but see” citation to Herring, 129 S.Ct. at 700. In United States v. Burnside,

588 F.3d 511, 517 (7th Cir. 2009), the court, by the same authoring judge (Kanne, J.), made

pretty much the same observation with the same “but see” citation to Herring and Guzman v. City

of Chicago, 565 F.3d 393, 398 (7th Cir. 2009).

       Guzman was § 1983 civil rights lawsuit opinion authored by Judge Evans (who sat with

Judge Kanne on Crowder) in which the plaintiff sued for a violation of her Fourth Amendment

rights when Chicago police officers searched her apartment in a multi-unit building based on a

search warrant affidavit that had incorrectly reported the building to be a single-family dwelling.

The court found a constitutional violation based on the officers’ reckless execution of the

warrant after learning facts that should have alerted them that their warrant was wrong. The

majority then offered in dicta its view that Guzman “may illustrate our recent observation that

in some ways it is easier to protect Fourth Amendment rights through civil actions, rather than

through the suppression of evidence in criminal cases.” 565 F.3d at 398, citing United States v.

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Sims, 553 F.3d 580 585 (7th Cir. 2009).1 Citing Herring and Hudson, the court noted that

suppression is a last resort, that exclusion is not a necessary consequence of a Fourth

Amendment violation, and the benefits of exclusion must outweigh the costs, costs that are not

a concern in civil cases. As an example, the court noted that civil rights lawsuits did not raise

concerns that illegally seized evidence essential to convicting a defendants of a grave crime might

have to be suppressed and the criminal let go to continue his career of criminality, even if the

harm inflicted by the illegal search to the interests protected by the Fourth Amendment was

slight in comparison to the harm to society of letting the defendant off scot free. Id. at 399.

Judge Rover offered a concurrence joining the result but scolding the majority for its gratuitous

musings on the continued vitality of the exclusionary rule. Id. (Rovner, J., concurring).

            Judge Rovner was on the panel in United States v. Elst, 579 F.3d 740 (7th Cir. 2009)

(Judge Tinder wrote the opinion), in which the court declined to suppress evidence obtained by

the officers in the good faith execution of a search warrant that lacked probable cause. The court

cited Herring for the proposition that exclusion of evidence is an extreme sanction that applies

only where it would result in appreciable deterrence. The court found that “it would not here.”

Id. at 747.

        This review of circuit cases does not provide much useful guidance beyond the Supreme

Court’s own observations and admonitions in Herring and Hudson: a court should not suppress

evidence in a criminal case unless it finds a need to deter police conduct that violated a suspect’s

rights in a manner that exceeds mere negligence. The investigators’ conduct in this case does not



        1
          In Sims, Judge Posner predicts the forthcoming demise of the exclusionary rule in favor of civil
rights lawsuits. 553 .F.3d at 583-84; see also Samuel v. Frank, 525 F.3d 566, 570 (7 th Cir. 2008), in a state
habeas case, Judge Posner’s opinion observes that “exclusionary rules have fallen out of favor.”

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meet this standard. I conclude first that they had reasonable suspicion to stop defendants’ car

to ask some question, and second, that if the first conclusion is wrong, then the officers’ conduct

is so close to being acceptable and the actual intrusion on defendants’ rights so minimal that

suppression would be too extreme a sanction under the circumstances.

       Let’s start with a definition of reasonable suspicion sufficient to justify a Terry stop:

               In order to conduct an investigatory stop, also known as a “Terry
               stop,” . . . and officer must be aware of specific and articulable
               facts giving rise to reasonable suspicion. A reasonable suspicion
               requires more than a hunch but less than probable cause and
               considerably less than preponderance of the evidence. Police
               officers are permitted to rely on their experience and training in
               forming a reasonable suspicion. Determining whether an officer
               had a reasonable suspicion is assessed considering the totality of
               the circumstances and commonsensical judgments and inferences
               about human behavior.

       United States v. Oglesby, 597 F.3d 891, 894 (7th Cir. 2010); see also United States v.

Hampton, 585 F.3d 1033, 1038 (7th Cir. 2009)(investigatory stop allowed if police can point to

specific and articulable facts that suggest criminality rather than a hunch); United States v.

Fiasche, 520 F.3d 694, 697 (7th Cir. 2008)(“‘reasonable suspicion,’ of course, lies in an area

between probable cause and a mere hunch.”); United States v. Lawshea, 461 F.3d 857, 859 (7th

Cir. 2006)(reasonable suspicion requires at least a minimal level of objective justification for

making the stop). An investigative stop need only be reasonably related in scope to the

circumstances that justified the interference in the first place, see Jewett v. Anders, 521 F.3d 818,

824 (7th Cir. 2008), here, a low-key traffic stop with a 2/2 officer-to-suspect ratio and no drawn

weapons.

       When a single informant provides the tip that leads to a Terry stop, the adequacy of the

tip depends on the amount of information given, the degree of reliability and the extent that the

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officers can corroborate some of the informant’s information. United States v. Booker, 579 F.3d

835, 838 (7th Cir. 2009). This sounds a lot like how courts test an informant’s reliability when

reviewing a challenged search warrant, but reasonable suspicion may arise from information that

is less reliable than that required to show probable cause. Fiasche, 520 F.3d at 698, quoting

Alabama v. White, 496 U.S. 325, 330 (1990). See also United States v. Watson, 558 F.3d 702,

703-04 (7th Cir. 2009)(one quasi-anonymous tipster’s detailed report of first-hand observations

provided reasonable suspicion to stop defendant’s car).

       Here, Marathon County’s informant, Olmsted, was a known quantity, having been

caught in the meth business before and again on August 18, 2009. Lt. Schneck deemed Olmsted

sufficiently reliable from past tips that he suggested Sgt. Kingsley drive over from Lincoln

County that night to his Olmsted’s report, then he vouched for Olmsted’s reliability. It was only

“headline” variety vouching, but in a reasonable suspicion analysis that’s not nothing: it was

clear from the context of the meeting that Lt. Schneck was satisfied in a professional capacity

with information Olmsted had provided before.            Olmsted, as a previous player in the

arrestee/snitch game, would be aware of the common sense notion that there are incentives to

provide your captors with useful information and disincentives to being caught in a lie. Cf.

Watson, 558 F.3d at 703 (a tip is less likely to be malicious or irresponsible if tipster knows that

the police can find him). Olmsted gave a relatively detailed, self-inculpatory account of having

been present three times at Big Tony’s place when Barttelt–a suspected meth cooker–was in fact

cooking meth, and Olmsted was able to pinpoint the location on a plat map. Sgt. Kingsley was

able to verify that “Tony” Thorenson owned the property and later confirmed that there was a

cable blocking the drive.



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       The allegation that most intrigued the investigators was Olmsted’s report that he had

seen a tank of anhydrous ammonia on the premises within the past week or so. Both defendants

attempt to marginalize this report by correctly observing how portable and ethereal meth labs

and ammonia tanks could be. But we’re talking reasonable suspicion here, not probable cause.

The report of three cooks in two months at the same location suggested that Barttelt had settled

in at Big Tony’s and was not going anywhere. Sgt. Kingsley, a veteran meth lab investigator, was

aware that the ammonia seen by Olmsted might already be gone, but it also might still be at the

cabin and in use.    This suspicion    that the tank might still be at Big Tony’s could be

“considerably less” than a 50/50 chance and still be a useable factor in Sgt. Kingsley’s

consideration of the totality of circumstances.

       This is where the intangibles come into play. Clearly this court can and must take into

account an experienced drug investigator’s opinion of what all this meant. If someone with Sgt.

Kingsley’s training and experience opines that Olmsted’s report led him to suspect that Barttelt

then and there could be cooking methamphetamine, so long as Sgt. Kingsley can point to

definite and articulable facts supporting this suspicion, it’s probably reasonable. Howsoever

irritating this process may be to defendants and their attorneys–who have no good way to

impeach what they view as self-serving and subjective conclusions by law enforcement agents–it

is not improper bootstrapping. There’s merit in giving credence to specialists who have been

there and done that many, many times before. Common sense suggests that Sgt. Kingsley would

not have wasted his time on a late-night, middle-of-nowhere surveillance if he had thought that

Olmsted was blowing smoke.




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       What’s left is determining the reasonableness of Sgt. Kingsley suspicion that the car he

stopped was associated with the suspected meth lab up at Big Tony’s.              I agree with the

defendants that there was nothing independently suspicious about a car driving down from the

cabin to the locked cable after hearing a car horn; anyone up at the cabin would have done the

same thing regardless what they were doing. Next, there was nothing independently suspicious

about the fact that a car was leaving the cabin at about 11:00 p.m., and the lack of other traffic

in the area meant nothing in sparsely-populated, densely-forested Lincoln County. At first

blush, it would seem that the operative question is whether it was sufficiently reasonable for Sgt.

Kingsley to suspect that anyone present at the cabin that night was involved in or knew about

a meth lab so as to justify stopping each departing vehicle to question its occupants. The

government argues that it was, citing United States v. Brignoni-Ponce, 422 U.S. 873 (1975), Jewett

v. Anders, 521 F.3d 818 (7th Cir. 2008), and United States v. Clements, 522 F.3d 790 (7th Cir.

2008). Each of these case cases is either factually or legally distinguishable from the instant case,

but this doesn’t mean that Sgt. Kingsley lacked reasonable suspicion to stop the car and question

the occupants.

       Perhaps a better analytical approach to this fact situation would be to analogize this

night-time, northwoods encounter between the defendants and the investigators to the

airport/train station encounter scenario explained by the court in Tyler, 512 F.3d at 410. In

these cases, narcotics officers stopped travels at airports or train station “on some but generally

insufficient suspicion to just a Terry stop.” The court deemed the initial encounter as consensual

questioning and moved to the question whether this encounter ripened into an investigative

detention requiring reasonable suspicion. If the police told the suspects that they were under



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investigation for drug crimes or held onto their documentation, then the encounter became an

investigation detention; if they did not do these things, then the encounter remained analytically

“consensual.” Id.

       Here, I have already found that Sgt. Kingsley had a reasonable suspicion that Barttelt was

running a meth lab at Big Tony’s cabin and that evidence would be found there that evening.

I am not convinced that it would be reasonable to suspect that every person driving from the

cabin was engaged in the suspected criminal activity, but it was reasonable to suspect that they

had seen it or were aware of it. This probably would justify a Terry stop of the maroon Beretta

that evening. Alternatively, if the train station analogy holds, then Sgt. Kingsley still had

reasonable suspicion to believe that Barttelt was running a meth lab at the cabin, which provided

him with “some” suspicion briefly and gently to stop and question people leaving the premises.

       Which is exactly what Sgt. Kingsley did. The defendants try to juice up the intrusiveness

of the initial encounter, but the evidence does not support their spin. The stop was initiated by

the investigators activating their emergency lights while facing Barttelt’s car, then approaching

to within ten feet of it and stopping. The two plainclothes investigators stepped out of their car,

did not draw weapons, identified themselves, asked the defendants to step out of their car, then

asked them who they were and what they were doing. They did not tell the defendants that they

were suspects in a drug investigation. All of this comports with the requirements set forth in

Tyler to label this a consensual stop, at least at first.

       Everything changed when Sgt. Kingsley smelled anhydrous ammonia while walking

Barttelt to the front of the car. He knew what it was and he knew what Barttelt had been doing.

In that instant, enough pieces of the puzzle fell into place to provide probable cause to arrest



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both Barttelt and Bohman for manufacturing methamphetamine.                  Whether Sgt. Kingsley

thereafter deemed his suspects to be under arrest is irrelevant.

        Circling back to Herring and Hudson, even if the investigators should not have stopped

the maroon Beretta to question its occupants, this was a close call, too close for this court to

deem the investigators’ conduct intentionally or recklessly violative of the Fourth Amendment.

The investigators were not randomly stopping cars on unsupported hunches, they were

methodically pursuing legitimate investigative leads supported by legally reasonable suspicions.

If they erred–and my primary conclusion is that they did not–then they erred negligently in a

good faith attempt to pursue their investigation in a lawful manner.

        In United States v. Groves, 559 F.3d 637, 642 (7th Cir. 2009), the court offered in dicta

its view that even if the challenged car stop had not been supported by reasonable suspicion,

suppression of the contraband was not required because there was nothing in the record to

suggest that the police had recklessly disregarded constitutional requirements or had knowingly

falsified an arrest record to justify the stop. So it is here: regardless of the analytical route taken,

we arrive at the same location. Exclusion of the challenged evidence is not justified.




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                                   RECOMMENDATION

       Pursuant to 42 U.S.C. § 636(b)(1)(B) and for the reasons stated above, I recommend

that this court deny the two pending motions to suppress evidence, dkts. 33 and 43.


       Entered this 12th day of July, 2010.

                                              BY THE COURT:

                                              /s/
                                              _______________________
                                              STEPHEN L. CROCKER
                                              Magistrate Judge




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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WISCONSIN
                                       120 N. Henry Street, Rm. 540
                                           Post Office Box 591
                                        Madison, Wisconsin 53701

       Chambers of                                                               Telephone
  STEPHEN L. CROCKER                                                           (608) 264-5153
   U.S. Magistrate Judge

                                           July 12, 2010

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        Re:      United States v. Barttelt; United States v. Bohman
                 Case No. 10-cr-38-wmc

Dear Counsel:

       The attached Report and Recommendation has been filed with the court by the United
States Magistrate Judge.

      The court will delay consideration of the Report in order to give the parties an
opportunity to comment on the magistrate judge's recommendations.

       In accordance with the provisions set forth in the newly-updated memorandum of the
Clerk of Court for this district which is also enclosed, objections to any portion of the report
may be raised by either party on or before July 22, 2010, by filing a memorandum with the court
with a copy to opposing counsel.




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       If no memorandum is received by July 22, 2010, the court will proceed to consider the
magistrate judge's Report and Recommendation.

                                          Sincerely,

                                          /s/ S. Vogel for
                                          Connie A. Korth
                                          Secretary to Magistrate Judge Crocker
Enclosures
cc:    Honorable William M. Conley, District Judge




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